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                                                                                           UNITED STATES DISTRICT COURT
                                                                                           WESTERN DISTRICT OF MICHIGAN
                                                                                                SOUTHERN DIVISION
                                                                                                    ____________

                                                          REPUBLICAN NATIONAL COMMITTEE,
                                                          DONALD J. TRUMP FOR PRESIDENT 2024, INC., CASE NO. 1:24−cv−00720−PLM−SJB
                                                          MICHIGAN REPUBLICAN PARTY, and RYAN
                                                          KIDD,                                     HON. PAUL L. MALONEY

                                                                  Plaintiffs,

                                                          v                                                       Brief in Support of Plaintiffs’ Motion
                                                                                                                         for Summary Judgment
                                                          GRETCHEN WHITMER, in her official capacity as
                                                          Governor of Michigan, JOCELYN BENSON, in her
                                                          official capacity as Michigan Secretary of State; and
                                                                                                                      ***Oral Argument Requested***
                                                          JONATHAN BRATER, in his official capacity as
                                                          Director of the Michigan Bureau of Elections, U.S.
                                                          SMALL BUSINESS ADMINISTRATION, ISABEL
                                                          GUZMAN, in her official capacity as Administrator
                                                          of the Small Business Administration,
                                                          DEPARTMENT OF VETERANS AFFAIRS, and,
                                                          DENIS McDONOUGH, in his official capacity as
                                                          Secretary of Veterans Affairs,

                                                                 Defendants.
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                                                          Drew W. Broaddus (P64658)
                                                          SMITH HAUGHEY RICE & ROEGGE
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                                                                          Brief in Support of Plaintiffs’ Motion for Summary Judgment

                                                                                                         Introduction

                                                                   The National Voter Registration Act of 1993 (“NVRA”) requires States to designate certain offices

                                                          as “voter registration agencies” (“VRAs”) and gives States the discretion to “designate other offices.” But

                                                          the NVRA does not tell states how to make those designations. 1 That is left up to state law. So whether an
                                                                                                                          0F




                                                          office has been properly designated as a VRA under the NVRA is a mixed question of state and federal law.

                                                          And, under Michigan law, the authority to designate VRAs is held solely by the Legislature. 2 Despite this,
                                                                                                                                                         1F




                                                          Michigan’s Governor and Secretary of State have taken it upon themselves to go beyond the statutory

                                                          framework provided by the Legislature and designate new VRAs. That’s something no prior Michigan

                                                          executive-branch official has attempted since 1995,3 when then-Governor Engler was acting under a

                                                          specific grant of authority from the Legislature that has long since expired. 4 The designation of these new
                                                                                                                                       3F




                                                          VRAs coincided with an Executive Order from President Biden that directed federal agencies to partner

                                                          with state officials to promote voter registration and voter participation, and to agree to state requests to

                                                          designate voter registration agencies. 5 This explains why the Federal Defendants 6 went along with it. But
                                                                                                4F                                           5F




                                                          when the Michigan Governor and Secretary of State designated these new VRAs, they were acting beyond
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                                                          their authority. For this reason, the State Defendants’ actions directly violate Michigan law. Moreover, the

                                                          Federal Defendants are acting as VRAs without proper authorization pursuant to the NVRA and in violation




                                                          1
                                                            See Exhibit 1, Fed. Election Comm’n, Guide to Implementing the National Voter Registration Act of
                                                          1993: Requirements, Issues, Approaches, and Examples, at 1-5 (1994).
                                                          2
                                                            See Const. 1963, art. 2, § 4(2) (“The legislature shall enact laws to regulate the time, place and manner of
                                                          all nominations and elections, to preserve the purity of elections, to preserve the secrecy of the ballot, to
                                                          guard against abuses of the elective franchise, and to provide for a system of voter registration and absentee
                                                          voting.”).
                                                          3
                                                            See ECF No. 9-2, PageID.85, Vet Voice’s proposed Motion to Dismiss.
                                                          4
                                                            See M.C.L. § 168.509u(1); ECF No. 1, PageID.2, Complaint, ¶ 3.
                                                          5
                                                            See ECF No. 9-2, PageID.85.
                                                          6
                                                            The Department of Veterans Affairs (“VA”) and its Secretary, and the U.S. Small Business Administration
                                                          (“SBA”) and its Administrator.

                                                                                                                1
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                                                          of the Administrative Procedures Act (“APA”), 5 U.S.C. § 704. Summary judgment in favor of Plaintiffs is

                                                          therefore appropriate.

                                                                                                       Statement of Facts

                                                                   In 1994, Congress enacted the NVRA, including the provisions allowing a “State” to designate

                                                          VRAs. Shortly afterwards, the Michigan legislature enacted MCL § 168.509u, which designated United

                                                          States military recruiting offices as VRAs and gave the governor 30 days to prepare a list of additional

                                                          “executive departments, state agencies, or other offices that will perform voter registration activities in this

                                                          state.”7 And, less than 30 days later, then-Governor Engler issued Executive Order 1995-1 (“EO 1995-1”),

                                                          designating various public-assistance offices as voter registration agencies and purporting to reserve the

                                                          right to subsequently designate “[a]ny other public office … by Executive Directive.”8 For the next quarter

                                                          century, no Michigan governor attempted to designate any additional offices as VRAs.

                                                                   Then, in May 2022, Michigan Governor Gretchen Whitmer issued Executive Directive 2022-4 (“ED

                                                          2022-4”9), which noted that Michigan’s list of designated voter registration agencies had not been updated

                                                          since 1995 and sought recommendations for additional offices to be so designated.10 In September 2023,

                                                          the Michigan Secretary of State acted on those recommendations by entering into “an interagency

                                                          agreement with the Department of Veterans Affairs to designate the Department, the Saginaw VA Medical
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                                                          Center, the Detroit VA Medical Center, and the Detroit Regional Office as voter registration sites.”11 Then,

                                                          in December 2023, Governor Whitmer issued Executive Directive 2023-6 (“ED 2023-6”), which among

                                                          other offices, designated “the U.S. Department of Veterans Affairs” as a voter registration agency.12 Finally,




                                                          7
                                                            See ECF No. 9, PageID.64, Vet Voice’s Motion to Intervene.
                                                          8
                                                             See Id., PageID.64-65. See also Exhibit 2, EO 1995-1.
                                                          9
                                                            Exhibit 3.
                                                          10
                                                              See ECF No. 9, PageID.65.
                                                          11
                                                             Exhibit 4, VA News Press Release.
                                                          12
                                                             Exhibit 5.

                                                                                                                 2
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                                                          in June 2024, Governor Whitmer issued Executive Directive 2024-3 (“ED 2024-3”), which designated the

                                                          SBA as a voter registration agency.13

                                                                 Both federal agencies were designated “subject to the agreement” they had “signed with the State

                                                          of Michigan.”14 With respect to the Department of Veterans affairs, this was a reference to the interagency

                                                          agreement. With respect to the SBA, this was in reference to a Memorandum of Understanding (“MOU”15)

                                                          and Memorandum of Agreement (“MOA”) that the Michigan’s Secretary of State entered into on March

                                                          18, 2024, with the U.S. Small Business Administration (“SBA”), purporting to designate SBA offices

                                                          throughout the State of Michigan as VRAs.16

                                                                 But these actions ignored the plain language of M.C.L. § 168.509u. As noted above, that statute

                                                          only authorized the Governor to designate VRAs “[n]ot later than the thirtieth day after the effective date

                                                          of [M.C.L. § 168.509u].” The Michigan Legislature did not authorize the Governor to unilaterally designate

                                                          any VRAs after February 9, 1995. 17 The Michigan Legislature also has not granted the Secretary of State
                                                                                            13F




                                                          the authority to designate VRAs. Rather, M.C.L. § 168.509n makes the Michigan Secretary of State

                                                          responsible only for (a) developing a mail registration form and making it available for distribution, (b)

                                                          instructing “designated voter registration agencies and county, city, township, and village clerks about the

                                                          voter registration procedures and requirements imposed by law,” and (c) by June 15 “of each odd numbered
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                                                          13
                                                             Exhibit 6.
                                                          14
                                                             Ex. 5, p 3, ¶ 5; Ex. 6, p 2.
                                                          15
                                                             The MOU is essentially an “agreement to agree” or statement of common cause, but lacks the binding
                                                          power of a contract. See ECF No. 1, PageID.15, ¶ 74. The apparent purpose of the MOU is to acknowledge
                                                          a formal, ongoing, and strategic relationship between the Michigan Secretary of State and the SBA. See Id.
                                                          The MOA, on the other hand, is a contractual document that formally establishes specific legal obligations
                                                          running between the two. See Id. For this reason, Plaintiff’s substantive arguments, with regard to the
                                                          designation of the SBA as a VRA, will focus on the MOA.
                                                          16
                                                             See ECF No. 1, PageID.3, Complaint, ¶ 7. Plaintiffs are unaware of any such agreement with the VA.
                                                          The designation of the VA appears to rest solely on ED 2023-6.
                                                          17
                                                             See ECF No. 1, PageID.3, Complaint, ¶ 4.

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                                                          year,” submitting a “a report on the qualified voter file” to member of the relevant state senate and house

                                                          committees.18

                                                                 Plaintiffs therefore filed this suit citing, among other authorities, 52 U.S.C. § 20510(b)(1)-(2), 5

                                                          U.S.C. § 706(2)(A), (C), and Ex parte Young, 209 U.S. 123; 28 S.Ct. 441 (1908).19 Plaintiff, the Republican

                                                          National Committee, is the national committee of the Republican Party, as defined by 52 U.S.C.

                                                          §30101(14).20 The RNC represents over 30 million registered Republicans in all 50 states, the District

                                                          Columbia, and the U.S. territories.21 It is comprised of 168 voting members representing state Republican

                                                          Party organizations, including three members who are registered voters in Michigan. 22 The RNC works to

                                                          elect Republican candidates to state and federal office.23 In November 2024, its candidates will appear on

                                                          the ballot in Michigan for numerous federal and state offices.24

                                                                 The RNC has vital interests in protecting the ability of Republican voters to cast, and Republican

                                                          candidates to receive, effective votes in Michigan elections and elsewhere.25 The RNC and Michigan GOP

                                                          have strong interests in ensuring that they and their candidates compete for votes in a lawfully structured

                                                          competitive environment.26 The RNC brings this suit to vindicate its own rights in this regard, and in a

                                                          representational capacity to vindicate the rights of its members, affiliated voters, and candidates.27 The RNC
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                                                          and its members are concerned that Defendants’ failure to comply with Michigan statutes governing VRA

                                                          designation undermines the integrity of elections by increasing the opportunity for individuals to register to




                                                          18
                                                             See Id., ¶ 7.
                                                          19
                                                             Id., PageID.3, 4, 20-21, ¶¶ 10-11, 106.
                                                          20
                                                             Id., PageID.4, ¶ 14.
                                                          21
                                                             Id., PageID.4, ¶ 15.
                                                          22
                                                             Id.
                                                          23
                                                             Id., PageID.4, ¶ 16.
                                                          24
                                                             Id.
                                                          25
                                                             ECF No. 1, PageID.5, ¶ 17.
                                                          26
                                                             Id.
                                                          27
                                                             Id.

                                                                                                                4
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                                                          vote even though they are ineligible to do so, and by sowing confusion regarding whether the agencies

                                                          purporting to offer assistance in registering voters are doing so in accordance with applicable law.28

                                                                    Plaintiff, Donald J. Trump for President 2024, Inc. (“Trump Campaign”) is the principal committee

                                                          for President Donald J. Trump’s campaign.29 The Trump Campaign has the same interests in this case as

                                                          the RNC with respect to the candidacy of President Trump and seeks to vindicate those interests in the same

                                                          ways.30

                                                                    Plaintiff, the Michigan Republican Party (“MRP”), is a “major political party” as that term is defined

                                                          by the Michigan Election Law, M.C.L. §§ 168.16.31 It was formed for the general purposes of, among other

                                                          things, promoting Republican values and assisting candidates who share those values with election or

                                                          appointment to partisan federal, state, and local office.32 Further, MRP works to ensure that elections in

                                                          Michigan are conducted in a free, fair, and transparent manner, and works to protect the fundamental

                                                          constitutional right to vote of its members and all Americans, and to promote their participation in the

                                                          political process.33 MRP brings this action on behalf of itself and its members.34 As a result, Plaintiff MRP

                                                          has a direct, personal, and substantial interest in this litigation to protect not only its own rights, but those

                                                          of its candidates and members.35
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                                                                    Plaintiff Ryan Kidd is the elected clerk of Georgetown Township, and is responsible for

                                                          administering elections, as well as processing voter registration applications for individuals who reside

                                                          within his jurisdiction and ultimately registering those individuals to vote.36 By statute, Mr. Kidd is

                                                          responsible for processing voter registration applications received from government offices properly



                                                          28
                                                             ECF No. 1, PageID.5, ¶ 18.
                                                          29
                                                             Id., ¶ 19.
                                                          30
                                                             Id., ¶ 20.
                                                          31
                                                             Id., ¶ 21.
                                                          32
                                                             Id.
                                                          33
                                                             Id.
                                                          34
                                                             Id.
                                                          35
                                                             ECF No. 1, PageID.5, ¶ 21.
                                                          36
                                                             Id., PageID.6, ¶ 22.

                                                                                                                  5
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                                                          designated as VRAs under the NVRA and Michigan law. 37 Mr. Kidd’s interest arises out of the fact that

                                                          Defendants’ ongoing ultra vires acts have created confusion about which state and federal offices are

                                                          properly designated as “designated voter registration agencies” in accordance with the NVRA and Michigan

                                                          law.38 As a result, Mr. Kidd seeks a declaration from this Court to guide his future conduct and the

                                                          performance of his duties, especially as it relates to processing voter registration applications submitted by

                                                          government offices purporting to be designated VRAs.39

                                                                 All Plaintiffs have alleged that, because Defendants have not complied with applicable Michigan

                                                          law or the NVRA, they must deploy their time and resources to monitor Michigan elections for fraud and

                                                          abuse, mobilizing voters to counteract it, educating the public about election-integrity issues, and

                                                          persuading elected officials to follow the law.40

                                                                                                Summary Judgment Standard

                                                                 In the NVRA context, this Court has described the standard for competing Rule 56 motions as

                                                          follows:

                                                                         A party may move for summary judgment under Federal Rule of Civil
                                                                         Procedure 56, identifying each claim on which summary judgment is sought.
                                                                         Summary judgment is proper if the movant shows that there is no genuine
                                                                         dispute as to any material fact and the movant is entitled to judgment as a
                                                                         matter of law.
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                                                                         In resolving a motion for summary judgment, a court must consider the
                                                                         evidence and all reasonable inferences in favor of the nonmoving party. When
                                                                         evaluating cross-motions for summary judgment, the Court must evaluate
                                                                         each motion on its own merits and view all facts and inferences in the light
                                                                         most favorable to the nonmoving party….

                                                                         The moving party has the initial burden of showing the absence of a genuine
                                                                         issue of material fact. The burden then shifts to the nonmoving party, who
                                                                         must present some specific facts showing that there is a genuine issue for
                                                                         trial. There is no genuine issue for trial where the record taken as a whole
                                                                         could not lead a rational trier of fact to find for the non-moving party….


                                                          37
                                                             Id., citing M.C.L. § 168.509w.
                                                          38
                                                             ECF No. 6, PageID.5, ¶ 22.
                                                          39
                                                             Id.
                                                          40
                                                             ECF No. 6-7, PageID.5, ¶ 25.

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                                                                                                               ***

                                                                         …[A] party opposing a motion for summary judgment ... possesses no
                                                                         absolute right to additional time for discovery under Rule 56. Even when a
                                                                         party properly presents a Rule 56(d) affidavit and a motion to extend
                                                                         discovery, the decision to extend the discovery deadline lies within the
                                                                         discretion of the trial court. …[A] district court does not abuse its discretion
                                                                         in denying further discovery when the discovery requested would be
                                                                         irrelevant to the underlying issue to be decided….41

                                                          Moreover, Rule 56(d) does not apply when the motions “turn[] on a pure question of law.”42 This Court may

                                                          issue summary judgment on purely legal questions, even before discovery is complete.43

                                                                 Plaintiffs also seek injunctive relief. In Purcell v. Gonzalez, the Supreme Court identified certain

                                                          “considerations specific to election cases,” relative to injunctions.44 For one, “[f]ederal courts should

                                                          ordinarily not alter the election rules on the eve of an election.”45 “But Purcell is a consideration, not a

                                                          prohibition.”46 “The focus of the Purcell principle … is on avoiding election issues that could lead to voter

                                                          confusion shortly before an election.”47 Here, there is no risk an injunction would cause voter confusion.

                                                          An injunction would simply prohibit a handful of federal agency offices from acting as VRAs, consistent

                                                          with the longtime status quo in Michigan.

                                                                                                      Law and Argument
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                                                                 A.      Legal architecture for designating VRAs under the NVRA.




                                                          41
                                                             Pub. Int. Legal Found. v. Benson, No. 1:21-CV-929, 2024 WL 1128565, at *8–9 (W.D. Mich. Mar. 1,
                                                          2024) (cleaned up).
                                                          42
                                                             Swoger v. Rare Coin Wholesalers, 803 F. 3d 1045, 1048 (9th Cir. 2015). See also Teck Metals, Ltd. v.
                                                          Certain Underwriters at Lloyd’s, London, 735 F. Supp. 2d 1246, 1256 (E.D. Wash. 2010).
                                                          43
                                                             Toms v. Taft, 338 F.3d 519, 523 (6th Cir. 2003) (“[T]he district court did not abuse its discretion by
                                                          granting summary judgment before discovery had commenced. The basis for the district court’s decision
                                                          was ... a purely legal question.”).
                                                          44
                                                             Purcell v. Gonzalez, 549 U.S. 1, 4; 127 S. Ct. 5 (2006).
                                                          45
                                                             Kim v. Hanlon, 99 F.4th 140, 160 (3d Cir. 2024), citing, inter alia, Purcell, 549 U.S. at 4.
                                                          46
                                                             Kim, 99 F.4th at 160 (cleaned up).
                                                          47
                                                             Id.

                                                                                                                7
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                                                                 In 1993, Congress enacted the NVRA “to protect the integrity of the electoral process.” 52 U.S.C. §

                                                          20501(b)(3). Section 7 of the NVRA, 52 U.S.C. § 20506(a)(2) requires that certain State agencies be

                                                          designated as VRAs. Additionally, 52 U.S.C. § 20506(a)(3)(A)-(B) states that “each State” has authority to

                                                          “designate other offices within the State as voter registration agencies,” which “may include” various “State

                                                          or local government offices” or “Federal and nongovernmental offices, with the agreement of such offices.”

                                                          The designation of a federal office as a VRA is entirely within a state’s discretion, with one exception. “A

                                                          recruitment office of the Armed Forces of the United States shall be considered to be a voter registration

                                                          agency designated under subsection (a)(2) for all purposes of this chapter.” 52 U.S.C. § 20506(c)(2). Thus,

                                                          a particular office can only operate as a VRA under the NVRA if it has been so designated by the “State.”

                                                                 The NVRA defines the term “State” as “a State of the United States and the District of Columbia.”

                                                          52 U.S.C. §20502(4). Throughout the statute, the NVRA distinguishes between a “State” and its “official[s]

                                                          or “officer[s].” See 52 U.S.C. § 20506 (using both the term “State” and the phrase “State election official”);

                                                          52 U.S.C. §20507(a)(2) (using the phrase “State election official”); 52 U.S.C. §20508 (using the phrase

                                                          “chief election officers of the States”). See also 52 U.S.C. § 20509 (“Each State shall designate a State

                                                          officer or employee as the chief State election official to be responsible for coordination of State

                                                          responsibilities under this chapter.”). How “each State” designates VRAs under the NVRA is a question of
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                                                          state law.48 “The Act requires each State to designate a State officer or employee as the chief State election

                                                          official to be responsible for coordination of State responsibilities,” but “it does not … specify how or even

                                                          when this designation is to be made.”49 “Most States are likely to designate a responsible State official in

                                                          their conforming legislation.”50 These provisions, when read together, plainly indicate that a designation is

                                                          only proper under the NVRA is it is done in accordance with the law of “each State.” An office that purports




                                                          48
                                                             See Exhibit 1, p 1-5.
                                                          49
                                                             Id. (cleaned up).
                                                          50
                                                             Id.

                                                                                                                8
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                                                          to operate as a VRA in the absence of such a designation thus operates without authorization under federal

                                                          law.

                                                                 B.      Only the Legislature may designate VRAs in Michigan.

                                                                 Under Michigan’s Constitution, “the legislative power of the State of Michigan is vested in a senate

                                                          and a house of representatives.”51 Consistent with Michigan’s state constitutional arrangement, “the

                                                          Legislature has the constitutional authority under Const. 1963, art. 2, § 4(2) to enact laws to preserve the

                                                          purity of elections, to guard against abuses of the elective franchise, and to provide for a system of voter

                                                          registration and absentee voting.”52 This is consistent with federal law; under the Elections Clause, state

                                                          legislatures are the entities “assigned particular authority by the Federal Constitution.”53

                                                                 Under Michigan’s Constitution, “[t]he executive power is vested in the governor.”54 But “[t]he

                                                          governor has no power to make laws.”55 And the governor only has the authority to it given by the Michigan

                                                          Constitution or the Legislature.56 “The apportionment of power, authority and duty to the governor, is either

                                                          made by the people in the constitution, or by the Legislature in making laws under it.”57

                                                                 After Congress enacted the NVRA in 1993, the Michigan Legislature adopted laws to conform with

                                                          the voter registration requirements of the NVRA.58 “On January 5, 1995, Michigan enacted Public Act 441

                                                          of 1994 in order to conform its voter registration procedure to the requirements of the National Voter
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                                                          Registration Act.”59 Public Act 441 was codified as M.C.L. § 168.509m-509gg. The stated purpose of these

                                                          statutes was to “increase the integrity of the voting process” and to apply technology and information

                                                          gathered by state and local governments “in a matter that ensures that accurate and current records of



                                                          51
                                                             Michigan Const. 1963, art. 4, § 1.
                                                          52
                                                             Promote the Vote v. Sec’y of State, 333 Mich. App. 93, 123; 958 N.W.2d 861 (2020).
                                                          53
                                                             Moore v. Harper, 600 U.S. 1, 27; 143 S. Ct. 20654 (2023).
                                                          54
                                                             Michigan Const. 1963, art. 5, § 1.
                                                          55
                                                             People v. Dettenhaler, 118 Mich. 595, 602; 77 N.W. 450 (1898).
                                                          56
                                                             People ex rel Sutherland v. Governor, 29 Mich. 320, 328-329 (1874).
                                                          57
                                                             Id.
                                                          58
                                                             See Ass’n. of Cmty. Organizations for Reform Now v. Miller, 129 F.3d 833, 835 (6th Cir. 1997).
                                                          59
                                                             Miller, 129 F.3d at 835.

                                                                                                                9
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                                                          qualified voters are maintained.”60 The Legislature specifically defined “[d]esignated voter registration

                                                          agency” as “an office designated under [M.C.L. § 168.509u] to perform voter registration activities in this

                                                          state.”61 M.C.L. § 168.509u provides the only avenue by which a government office can be a “designated

                                                          voter registration agency” under Michigan law and, by extension, properly designated to conduct voter

                                                          registration activities in Michigan under the NVRA.

                                                                 M.C.L. § 168.509u expressly designated “a recruitment office of the armed forces of the United

                                                          States [as] a designated voter registration agency.” It also authorized the Governor to “provide a list to the

                                                          secretary of state designating the executive departments, state agencies, or other offices that will perform

                                                          voter registration activities in this state.”62 However, that authority had to be exercised “[n]ot later than the

                                                          thirtieth day after the effective date of [M.C.L. § 168.509u].” M.C.L. § 168.509u became effective January

                                                          10, 1995. Therefore, under the plain language of § 168.509u, the Michigan Legislature did not grant the

                                                          Governor authority to designate any VRAs after February 9, 1995. It follows that the Governor of Michigan

                                                          has lacked any statutory authority to designate additional VRAs since that date.

                                                                 This conclusion is buttressed by the canon of statutory construction known as “expressio unius est

                                                          exclusio alterius,” the “express mention of one thing in a statutory provision implies the exclusion of similar

                                                          things.”63 So, M.C.L. § 168.509u’s express mention of the Governor’s authority to designate VRAs through
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                                                          February 9, 1995 implies that no such authority existed after that date. Michigan’s Legislature knows how




                                                          60
                                                             M.C.L. § 168.509m.
                                                          61
                                                             M.C.L. § 168.509m(2)(a).
                                                          62
                                                             M.C.L. § 168.509u(1).
                                                          63
                                                             People v. Carruthers, 301 Mich. App. 590, 604; 837 N.W.2d 16 (2013). See also Traverse Bay Area
                                                          Intermediate Sch. Dist. v. Michigan Dep’t of Educ., 615 F.3d 622, 630 (6th Cir. 2010), discussing “the long-
                                                          established canon of statutory construction, expressio unius est exclusio alterius” and noting that “when a
                                                          statute limits a thing to be done in a particular mode, it includes the negative of any other mode”) (cleaned
                                                          up).

                                                                                                                 10
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                                                          to give open-ended authority to designate VRAs – in 2023 PA 263, it granted authority to designate state

                                                          agencies as VRAs to the Secretary of State effective June 30, 2025 (more on that below).64

                                                                  Public Act 441 also included M.C.L. § 168.509n, which gives the Michigan Secretary of State

                                                          specific responsibilities “for the coordination of the requirements imposed under this chapter, the National

                                                          Voter Registration Act of 1993….” It authorizes the Michigan Secretary of State to do three things: (a)

                                                          develop and disseminate a mail registration form, (b) give instruction to designated VRAs and clerks, and

                                                          (c) report to the relevant “committees of the senate and house of representatives….”65 It does not authorize

                                                          the designation of additional VRAs. Rather, it only authorizes the Secretary to coordinate with existing

                                                          VRAs.

                                                                  When a voter registration application is “submitted in person at … a designated voter registration

                                                          agency,” the person processing the application shall “[v]alidate the application in the manner prescribed by

                                                          the secretary of state” and “[i]ssue a receipt to the applicant verifying the acceptance of the application.”66

                                                          Then, within 7 days of receiving the application, “the designated voter registration agency … shall transmit

                                                          the application … to the clerk of the county, city, or township where the applicant resides.”67 However, if

                                                          the application is made 2-3 weeks before an election, the designated voter registration agency “shall

                                                          transmit the application not later than 1 business day to the clerk of the county, city, or township where the
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                                                          applicant resides.”68 If the designated voter registration agency transmits “a completed application…to a

                                                          county clerk,” the Secretary of State “shall compensate the county clerk for the cost of forwarding the

                                                          application to the proper city or township clerk of the applicant’s residence from funds appropriated to the




                                                          64
                                                             M.C.L. § 168.493b(1). But the Secretary’s authority under that subpart will be limited to designating
                                                          “state agencies.” In other words, even if that statute were in effect, it wouldn’t authority the actions at issue
                                                          here.
                                                          65
                                                             M.C.L. § 168.509n.
                                                          66
                                                             M.C.L. § 168.509w(1).
                                                          67
                                                             M.C.L. § 168.509w(2).
                                                          68
                                                             M.C.L. § 168.509w(3).

                                                                                                                 11
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                                                          secretary of state for that purpose.”69 Thus, when an individual applies to register to vote at a designated

                                                          voter registration agency, even if the application is initially sent to the applicable county clerk, it is the clerk

                                                          of the city or township where that individual resides that will ultimately be responsible for processing the

                                                          application and registering that individual to vote.

                                                                  As noted above, in January 1995, M.C.L. § 168.509u authorized the then-Governor of Michigan to

                                                          designate VRAs but required him to do so “not later than” February 6, 1995. In January 1995, Governor

                                                          John Engler complied with that statutory directive by issuing EO 1995-1.70 EO 1995-1 recognized that “the

                                                          NVRA requires that additional state offices be designated as voter registration agencies for applicants and

                                                          recipients of public assistance, to wit: Aid to Families with Dependent Children (AFDC), Medicaid, Food

                                                          Stamps, and Women, Infant, Children (WIC).”71 It also recognized that “NVRA further requires that state

                                                          offices be designated as voter registration agencies that provide state-funded programs primarily engaged

                                                          in providing services to persons with disabilities, to wit: Michigan rehabilitation services and psychiatric

                                                          hospitals.”72

                                                                  Thus, “[p]ursuant to Sections 7 (a) (2) (A) and 7 (a) (2) (B) of the NVRA,” Governor Engler

                                                          specifically designated the following four offices “to accept applications for voter registration”: (1)

                                                          Michigan Department of Social Services local offices which accept applications and administer benefits for
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                                                          the Aid to Families with Dependent Children (AFDC), Medicaid, and Food Stamp programs; (2) County

                                                          health department offices and other agencies which contract with the Department of Public Health which

                                                          accept applications and administer benefits for the Women, Infants and Children program (WIC); (3) local

                                                          Michigan rehabilitation services offices; and (4) adult inpatient psychiatric hospitals operated by the




                                                          69
                                                             M.C.L. § 168.509w(4).
                                                          70
                                                             ECF No. 1, PageID.11, ¶ 53 n.7.
                                                          71
                                                             See Id., ¶ 54.
                                                          72
                                                             See Id.

                                                                                                                  12
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                                                          Michigan Department of Mental Health.73 Additionally, Governor Engler purported to designate “[a]ny

                                                          other public office…which the Governor may from time to time designate by Executive Directive.”74

                                                                   Since January 1995, the Legislature has not granted any further authority to the Michigan

                                                          Governor to designate VRAs. Although Governor Engler claimed the ability to designate additional VRAs

                                                          via Executive Directives, that purported authority has no basis in Michigan’s Election Law. Further,

                                                          Michigan law does not give executive directives the force and effect of law, as they are not subject to

                                                          Legislative review.75 Moreover, the ongoing authority that Governor Engler purported to reserve in 1995

                                                          had no basis in the statute. Again, the statute only gave the governor a narrow window to designate VRAs,

                                                          which expired almost thirty years ago. So, under Michigan’s constitutional and statutory scheme,

                                                          designating new VRAs would require a legislative act.76

                                                                 C.      Michigan’s Governor acted ultra vires when she attempted to designate the SBA and
                                                                         VA as VRAs.

                                                                 “[U]ltra vires activity [is] defined as activity not expressly or impliedly mandated or authorized by

                                                          law.”77 Actions taken ultra vires are void.78 Here, Governor Whitmer’s attempts to designate the VA and

                                                          the SBA were ultra vires and, thus, legal nullities.

                                                                   For almost three decades after EO 1995-1, there were no attempts to further designate any other
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                                                          agencies – state, federal, or local – as VRAs in Michigan.79 But on May 1, 2022, Governor Whitmer issued

                                                          Executive Directive 2022-4. In it, she recognized that “EO 1995-1 designated specific state offices as voter

                                                          registration agencies pursuant to sections 7(a)(2)(A) and (B) of the NVRA” but that, “[s]ince 1995, there

                                                          have been myriad changes to public assistance programs and programs that provide services to persons with




                                                          73
                                                             See Id., PageID.12, ¶ 55.
                                                          74
                                                             See Id., ¶ 56.
                                                          75
                                                             Exhibit 7, unpublished opinion of the Michigan Attorney General (No. 7224, February 20, 2009).
                                                          76
                                                             See, for example, M.C.L. § 168.493b.
                                                          77
                                                             Richardson v. Jackson Cnty., 432 Mich. 377, 381; 443 N.W.2d 105 (1989) (emphasis in original).
                                                          78
                                                             Salzer v. City of E. Lansing, 263 Mich. 626, 632; 249 N.W. 16 (1933).
                                                          79
                                                             See ECF No. 9, PageID.65.

                                                                                                                 13
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                                                          disabilities, as well as to the offices that accept applications for and administer these programs.”80 “In light

                                                          of these changes,” Governor Whitmer concluded that “it is time to review and update Michigan’s list of

                                                          voter registration agencies.”81 Claiming authority “under sections 1 and 8 of Article 5 of the Michigan

                                                          Constitution of 1963,” Governor Whitmer directed, among other things, the Department of State to “review

                                                          Michigan’s compliance with the requirements of the NVRA, in particular, the requirement in section 7 that

                                                          all state offices that provide either public assistance or state-funded programs primarily engaged in

                                                          providing services to persons with disabilities are offering voter registration services.”82 Governor Whitmer

                                                          stated that “[t]o the extent that the Department of State recommends additional offices be designated as

                                                          voter registration agencies to comply with the NVRA, [she] expect[ed] to take appropriate action

                                                          expeditiously.”83 She also indicated a desire to take additional action “including but not limited to

                                                          designating additional offices as voter registration agencies pursuant to section 7(a)(3) of the NVRA.”84

                                                                 This appears to have been inspired by Executive Order 14019, issued on March 7, 2021 by President

                                                          Biden, which directed federal departments and agencies to “partner with State, local, Tribal, and territorial

                                                          officials” and “evaluate ways in which the agency can, as appropriate and consistent with applicable law,

                                                          promote voter registration and voter participation.”85 Executive Order 14019 also stated that each federal

                                                          agency, “if requested by a State to be designated as a voter registration agency pursuant to section
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                                                          7(a)(3)(B)(ii) of the National Voter Registration Act, shall, to the greatest extent practicable and consistent

                                                          with applicable law, agree to such designation.”86




                                                          80
                                                             See ECF No. 1, PageID.13, ¶ 62.
                                                          81
                                                             Id., ¶ 63.
                                                          82
                                                             Id., ¶ 64.
                                                          83
                                                             Id., ¶ 65.
                                                          84
                                                             Id.
                                                          85
                                                             Exhibit 8.
                                                          86
                                                             See ECF No. 1, PageID.12, ¶ 61.

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                                                                 On December 18, 2023, Governor Whitmer issued Executive Directive 2023-6 which, among other

                                                          things, designated several “state departments, agencies, and offices” as VRAs.87 ED 2023-6 also purported

                                                          to designate “the U.S. Department of Veterans Affairs” as a VRA “subject to the agreement it has signed

                                                          with the State of Michigan.”88 For her alleged authority to make these designations, Governor Whitmer

                                                          relied on “Section 1 of Article 5 of the Michigan Constitution of 1963” and “Section 8 of Article 5 of the

                                                          Michigan Constitution of 1963.”89 Then, in June 2024, Governor Whitmer issued Executive Directive 2024-

                                                          3 (“ED 2024-3”),which designated the SBA as a voter registration agency.90

                                                                 Governor Whitmer’s attempts to designate the SBA and VA as VRAs were improper exercises of

                                                          legislative authority. Michigan Const. 1963, art. 3, § 2 states that “[t]he powers of government are divided

                                                          into three branches: legislative, executive and judicial. No person exercising powers of one branch shall

                                                          exercise powers properly belonging to another branch except as expressly provided in this constitution.”

                                                          The legislative power has been described as “the power ‘to regulate public concerns, and to make law for

                                                          the benefit and welfare of the state.”91 Or, put simply, “legislative power is the power to make laws.”92 In

                                                          turn, the executive power is the power to enforce or effectuate the laws enacted by the Legislature or, in

                                                          other words, the power to faithfully execute laws.93 Thus, the governor lacks the authority to make laws or
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                                                          87
                                                             ECF No. 1, PageID.14, ¶ 68.
                                                          88
                                                             ECF No. 1, PageID.15, ¶ 69.
                                                          89
                                                             See Id., ¶ 70. Section 1, Art. 5 of the Michigan Constitution states that “the executive power is vested in
                                                          the governor.” Section 8, Art. 5 of the Michigan Constitution states that the governor has supervisory
                                                          authority over “[e]ach principal department” and “shall take care that the laws be faithfully executed.”
                                                          90
                                                             Exhibit 6.
                                                          91
                                                             46th Circuit Trial Court v. Crawford Co, 476 Mich. 131, 141; 719 N.W.2d 553 (2006), quoting Cooley,
                                                          Constitutional Limitations (1886), p. 92.
                                                          92
                                                             In re Complaint of Rovas against SBC Michigan, 482 Mich. 90, 98; 754 N.W.2d 259 (2008); In re
                                                          Manufacturer’s Freight Forwarding Co., 294 Mich. 57, 63; 292 N.W.2d 678 (1940) (citations omitted)
                                                          (“The Legislature makes the law.”); Harsha v. City of Detroit, 261 Mich. 586, 590; 246 N.W. 849 (1933)
                                                          (“The legislative power is the authority to make, alter, amend, and repeal laws.”).
                                                          93
                                                             Michigan Const. 1963, art. 5, § 8.

                                                                                                               15
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                                                          to assume powers conferred on the Legislature.94 The law-making function of state government is vested in

                                                          the Michigan Legislature. While the Governor of Michigan has the power to enforce the laws enacted by

                                                          the Legislature, she lacks the authority to change or extend them. But designating new VRAs though

                                                          Executive Directives attempts to do just that. So Governor Whitmer’s purported designations of SBA and

                                                          the VA as VRAs is ultra vires and void.

                                                                 D.     The Secretary of State acted ultra vires when she attempted to designate the SBA and
                                                                        VA as VRAs.

                                                                 In September 2023, the Michigan Secretary of State and the U.S. Department of Veterans Affairs

                                                          announced the signing of an interagency agreement that purported to designate the Department, the Saginaw

                                                          VA Medical Center, the Detroit VA Medical Center, and the Detroit Regional Office as voter registration

                                                          agencies and offices.95 The Michigan Department of State’s press release stated that “[t]he official

                                                          designation of VA as a voter registration site will come through an executive order by Governor Whitmer

                                                          in the coming weeks.”96 Then, on March 18, 2024, the Michigan Secretary of State entered into the

                                                          aforementioned MOU and MOA with the SBA, purporting to designate the SBA’s offices throughout

                                                          Michigan as VRAs.

                                                                 The MOA states in Part III that the “SBA enters into this MOA under the legal authority of section
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                                                          8(b) of the Small Business Act, 15 U.S.C. 637(b), and pursuant to section 20506 of the NVRA [National

                                                          Voter Registration Act] as referenced above in Part I.” Part I cites See 52 USC § 20506(a)(2). But the

                                                          Michigan Secretary of State’s authority is not specifically mentioned. In Part II, entitled “Purpose,” the

                                                          MOA references “a 1994 state statute that directed the Governor to designate VRAs,” and a 1995 Executive




                                                          94
                                                             16A Am. Jur. 2d Constitutional Law § 246 (“The executive power is the power to execute the laws, that
                                                          is, to carry them into effect, as distinguished from the authority to make the laws and the power to judge
                                                          them.”); 16 C.J.S., Constitutional Law, § 216, p. 686 (“[T]he executive branch may only apply the policy
                                                          so fixed and determined [by the legislative branch], and may not itself determine matters of public policy
                                                          or change the policy laid down by the legislature.”).
                                                          95
                                                             See ECF No. 1, PageID.14, ¶ 66.
                                                          96
                                                             See Id., ¶ 67 n. 11.

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                                                          Order from Governor Engler that “allows the Governor to designate additional VRAs through an executive

                                                          directive.” The “Purpose” section of the MOA further claims that “Michigan law makes the Secretary of

                                                          State ‘responsible for the coordination of the requirements imposed under … the National Voter Registration

                                                          Act of 1993.’ These responsibilities include ‘[i]nstruct[ing] designated voter registration agencies and

                                                          [local] clerks about the voter registration procedures and requirements imposed by law.’” But as explained

                                                          above, neither ED 2023-6, the MOU, nor the MOA were authorized by the Michigan Legislature. Moreover,

                                                          under Michigan law, Executive Directives do not have the force and effect of law and are not subject to

                                                          Legislative review.

                                                                 Consistent with Michigan’s state constitutional arrangement, “the Legislature has the constitutional

                                                          authority under Const. 1963, art. 2, § 4(2) to enact laws to preserve the purity of elections, to guard against

                                                          abuses of the elective franchise, and to provide for a system of voter registration and absentee voting.”97

                                                          Michigan’s Legislature gave certain responsibilities over elections to the Secretary of State. Specifically,

                                                          M.C.L. § 168.509n makes the Secretary of State is responsible for (a) developing a mail registration form

                                                          and making it available for distribution, (b) instructing “designated voter registration agencies and county,

                                                          city, township, and village clerks about the voter registration procedures and requirements imposed by law,”

                                                          and (c) by June 15 “of each odd numbered year,” submitting a “a report on the qualified voter file” to
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                                                          member of the relevant state senate and house committees. That’s it – nothing about designating VRAs.

                                                                 Here, the doctrine of “expressio unius est exclusio alterius” is again relevant – “the expression of

                                                          one thing suggests the exclusion of all others….”98 As noted above, “the express mention of one thing in a

                                                          statutory provision implies the exclusion of similar things.”99 So, M.C.L. § 168.509n’s expression of three

                                                          specific responsibilities for the Michigan Secretary of State, that fall within the umbrella of “coordinat[ing]”




                                                          97
                                                             Promote the Vote v. Sec’y of State, 333 Mich. App. 93, 123; 958 N.W.2d 861 (2020).
                                                          98
                                                             Carruthers, 301 Mich. App. at 604.
                                                          99
                                                             Id.

                                                                                                                17
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                                                          the “requirements imposed under” Public Act 441, implies that any other responsibilities (such as

                                                          designating VRAs) are excluded.

                                                                 This is especially true because, while MCL § 168.509n authorizes the Secretary of State to instruct

                                                          previously designated VRAs, the statute says nothing about the power to designate VRAs in the first place.

                                                          This conclusion is also supported by the “canon of construction” known as “casus omissus pro omisso

                                                          habendus est” – nothing can be added to what the text of a statute states or reasonably implies.100 Put another

                                                          way, courts are prohibited “from supplying provisions omitted by the Legislature.”101

                                                                 The fact that Michigan’s Legislature has not granted the Secretary of State the authority to designate

                                                          VRAs is underscored by 2023 PA 263, which grants the Secretary of State this authority (but only as to a

                                                          “state agency”) effective June 30, 2025, see M.C.L. § 168.493b – reflecting the fact that such authority does

                                                          not currently exist. In construing a statute, District Courts must “presume that every word has some meaning

                                                          and should avoid any construction that would render any part of the statute surplusage or nugatory.”102

                                                          “[E]ffect should be given to every phrase, clause and word.”103 Reading § 168.509n to give Michigan’s

                                                          Secretary of State the authority now to designate federal agencies as VRAs would fail to give meaning to §

                                                          168.493b, rendering it nugatory and redundant.

                                                                 E.      The ultra vires designation of VRAs represents an ongoing violation of federal law.
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                                                                 The NVRA presupposes that States act in accordance with their own laws. 104 If States don’t

                                                          “establish procedures”105 to designate VRAs, they are not in compliance with the Act. The word “establish”

                                                          has been defined as “[t]o set up on a secure or permanent basis; to found (a government, an institution; in



                                                          100
                                                              Mich Ambulatory Surgical Ctr. v. Farm Bureau Gen. Ins. Co., 334 Mich. App. 622, 632; 965 N.W.2d
                                                          650 (2020).
                                                          101
                                                              Id.
                                                          102
                                                              Hansen v. Williamson, 440 F. Supp. 2d 663, 671 (E.D. Mich. 2006). See also Simon Prop. Grp., Inc. v.
                                                          Taubman Centers, Inc., 240 F. Supp. 2d 642, 647 (E.D. Mich. 2003).
                                                          103
                                                              Simon Prop. Grp., 240 F. Supp. 2d at 647 (citation omitted).
                                                          104
                                                              See 52 U.S.C. § 20503(a) (“each State shall establish procedures to register to vote … at a Federal, State,
                                                          or nongovernmental office designated under [§ 20506].”
                                                          105
                                                              Id.

                                                                                                                18
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                                                          modern use often, a house of business),” or “[t]o set up or bring about permanently (a state of things).106

                                                          And “the dictionary defines ‘procedure’ as a series of steps followed in a regular orderly definite way.”107

                                                          Other dictionary definitions of “procedure” include “a particular way of doing or of going about the

                                                          accomplishment of something,” a “particular course of action, a “particular step adopted for doing or

                                                          accomplishing something,” or a “traditional, customary, or otherwise established or accepted way of doing

                                                          things.”108 So, a VRA not designated pursuant to “established” State “procedures” also violates the NVRA.

                                                                 There is nothing “established” about the Michigan Governor dusting off a 28-year-old Executive

                                                          Order that none of her predecessors had ever invoked and relying upon it to designate federal agencies as

                                                          VRAs via Executive Directives. Designating VRAs in this matter – particularly where all prior VRAs had

                                                          been designated pursuant to specific statutory authority - is not part of any “series of steps followed in a

                                                          regular orderly definite way.” It is completely ad hoc. Even more so is the Secretary of State’s contract with

                                                          the SBA, something which wasn’t contemplated or authorized by either ED 1995-1 or M.C.L. § 168.509n.

                                                          This appears to have been a practice that was invented out of whole cloth in response to President Biden’s

                                                          2021 Executive Order, not an act taken as part of any “established procedure.”

                                                                 And under the NVRA, “each State shall establish procedures….”109 When used in a statute, the

                                                          word “shall” creates “an obligation impervious to judicial discretion.”110 “Unlike the word ‘may,’ which
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                                                          implies discretion, the word ‘shall’ usually connotes a requirement.”111 Indeed, the U.S. Supreme Court has

                                                          noted that the use of “shall” leaves “no place for the exercise of discretion….”112 This only leaves two



                                                          106
                                                              Ranchers Cattlemen Action Legal Fund United Stockgrowers of Am. v. United States Dep’t of Agric., 35
                                                          F.4th 1225, 1242-1243 (10th Cir. 2022) (citation omitted). “A fundamental canon of statutory construction
                                                          is that, unless otherwise defined, words will be interpreted as taking their ordinary, contemporary, common
                                                          meaning.” Id. (citation omitted).
                                                          107
                                                              Owen v. I.C. Sys., Inc., 629 F.3d 1263, 1272 (11th Cir. 2011) (cleaned up). See also Jerman v. Carlisle,
                                                          McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 587; 130 S. Ct. 1605 (2010).
                                                          108
                                                              Jennison v. Providence St. Vincent Med. Ctr., 174 Or. App. 219, 225 n.9; 25 P.3d 358 (2001).
                                                          109
                                                              52 U.S.C. § 20503(a) (emphasis added).
                                                          110
                                                              Smith v. Spizzirri, 601 U.S. 472, 476; 144 S. Ct. 1173 (2024) (cleaned up).
                                                          111
                                                              Id. (citation omitted, emphasis added).
                                                          112
                                                              Id. (citation omitted).

                                                                                                               19
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                                                          possibilities. Either the designations of the SBA and VA violated the NVRA because they were not made

                                                          pursuant to the procedures established by the Michigan Legislature. Or, if the ultra vires actions of the

                                                          Governor and Secretary of State are allowed to stand, it would mean that Michigan has no “established

                                                          procedures” for designating VRAs, which is still a violation § 20503(a).

                                                                 These designations also violate the NVRA because § 20503(a) and § 20506 require “each State” to

                                                          make the designations. The word “State” must read in light of the fact that when it enacted the NVRA,

                                                          Congress was exercising its power under the Elections Clause.113 The Elections Clause provides: “The

                                                          Times, Places and Manner of holding Elections for Senators and Representatives, shall be prescribed in

                                                          each State by the Legislature thereof….”114 Thus, the Clause “imposes” on “state legislatures the ‘duty’ to

                                                          prescribe rules governing federal elections.”115 It follows that, for purposes of the NVRA, “each State”

                                                          means the legislature of each state, and not executive officers or officials. So, unless designated by the

                                                          Legislature – or pursuant to a grant of authority from the Legislature – the designation has not been made

                                                          by the “State” as required by the NVRA.

                                                                 Thus, by acting pursuant to these ultra vires designations, the Federal Defendants are violating both

                                                          the NVRA and the Administrative Procedures Act (“APA”).116 5 U.S.C. § 702 states that a “person suffering

                                                          legal wrong because of agency action … is entitled to judicial review,” which may result in a “mandatory
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                                                          or injunctive decree….” The APA defines “agency action” as “the whole or a part of an agency rule, order,

                                                          license, sanction, relief, or the equivalent or denial thereof, or failure to act.”117 The SBA is an “agency”

                                                          within the meaning of the APA.118 So is the VA.119 These agencies have “acted” through their agreements




                                                          113
                                                              Miller, 129 F.3d at 836.
                                                          114
                                                              Moore, 600 U.S. at 10 (emphasis added).
                                                          115
                                                              Id. (emphasis added).
                                                          116
                                                              See ECF No. 1, PageID.20-21, ¶¶ 106-108.
                                                          117
                                                              5 U.S.C. § 551(13). See also 5 U.S.C. § 701(b)(2) (noting that “agency action” means as defined by §
                                                          551).
                                                          118
                                                              Gifford v. Small Bus. Admin., 626 F.2d 85, 86 (9th Cir. 1980).
                                                          119
                                                              Nat’l Org. of Veterans’ Advocs., Inc. v. Sec’y of Veterans Affs., 981 F.3d 1360, 1376 (Fed. Cir. 2020).

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                                                          with the Michigan Secretary of State to acts as VRAs. Yet, by purporting to act as VRAs – despite not being

                                                          designated by the “State” – the SBA and VA’s conduct is “not in accordance with law” and “in excess of

                                                          statutory … authority.”120

                                                                 F.      Plaintiffs have standing.

                                                                 Defendants will likely claim that Plaintiffs lack standing to challenge their violations of the NVRA

                                                          and Michigan law. But that is simply not true.

                                                                 “The judicial Power shall extend to all Cases, in Law and Equity, arising under this

                                                          Constitution....”121 “To establish Article III standing, an injury must be concrete, particularized, and actual

                                                          or imminent; fairly traceable to the challenged action; and redressable by a favorable ruling.”122

                                                                 To help address voter fraud and ensure compliance with federal election law, the NVRA includes a

                                                          private right of action.123 When a local official has “a designated role to play in the interpretation and

                                                          enforcement of” state election law, they are “proper parties to any suit seeking to challenge its validity and

                                                          enjoin its enforcement.”124 Mr. Kidd plays such a role as a local clerk. As Michigan’s Court of Claims

                                                          recently noted, it is difficult to “imagine anyone more in need of a ruling” on election-related matters “than

                                                          a local clerk….”125 “Indeed, if [he] does not have standing … then nobody has standing….”126

                                                                 As explained in the Complaint, Mr. Kidd has a “particularized” injury in that he the elected clerk of
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                                                          Georgetown Township.127 He is responsible for administering elections, as well as processing voter

                                                          registration applications for individuals who reside within their respective jurisdictions and ultimately



                                                          120
                                                              See ECF No. 1, PageID.21, ¶ 107.
                                                          121
                                                               U.S. Const. art. III, § 2, cl. 1. See also Russell v. Lundergan-Grimes, 784 F.3d 1037, 1049 (6th Cir.
                                                          2015).
                                                          122
                                                              Russell, 784 F.3d at 1049 (citation omitted).
                                                          123
                                                              52 U.S.C. §20510(b).
                                                          124
                                                              Voting for Am., Inc. v. Andrade, 888 F. Supp. 2d 816, 833 (S.D. Tex. 2012), rev’d on other grounds, 732
                                                          F.3d 382 (5th Cir. 2013).
                                                          125
                                                              Republican National Committee, et al. v. Benson, et al., unpublished opinion of the Michigan Court of
                                                          Claims, issued June 12, 2024 (Docket No. 24-000041-MZ), p 5. See ECF No. 1, PageID.6, ¶ 23 n.4.
                                                          126
                                                              Id.
                                                          127
                                                              ECF No. 1, PageID.6, ¶ 22.

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                                                          registering those individuals to vote.128 And, by statute, Mr. Kidd is responsible for processing voter

                                                          registration applications received from government offices properly designated as VRAs under the NVRA

                                                          and Michigan law. 129 Defendants’ ongoing ultra vires acts have created confusion about which state and

                                                          federal offices are properly designated as “designated voter registration agencies” in accordance with the

                                                          NVRA and Michigan law.130 For that reason, Mr. Kidd needs a declaration from this Court to guide his

                                                          future conduct and the performance of his duties, especially as it relates to processing voter registration

                                                          applications submitted by government offices purporting to be designated VRAs in advance of the 2024

                                                          election.131

                                                                  Only one of these Plaintiffs needs to have standing.132              But the other Plaintiffs also have

                                                          particularized injuries as set forth in the Complaint.133 So they have standing, too.

                                                                    G.      The Eleventh Amendment does not bar Plaintiffs’ claim for prospective, non-
                                                                            monetary relief against the State Defendants.

                                                                  The State Defendants may also claim immunity under the Eleventh Amendment. The Eleventh

                                                          Amendment provides, “[t]he Judicial power of the United States shall not be construed to extend to any suit

                                                          in law or equity, commenced or prosecuted against one of the United States by Citizens of another State, or

                                                          by Citizens or Subjects of any Foreign State.”134 “A suit against a state official in his or her official capacity
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                                                          is not a suit against the official but rather is a suit against the official’s office.”135 Such a suit is “against the

                                                          State itself” and the “Eleventh Amendment bars many such suits.”136 “However, there is an exception to




                                                          128
                                                              Id.
                                                          129
                                                              Id., citing M.C.L. § 168.509w.
                                                          130
                                                              Id., ¶ 24.
                                                          131
                                                              Id.
                                                          132
                                                              See Diamond v. Charles, 476 U.S. 54, 64; 106 S.Ct. 1697 (1986) (recognizing that a party can ride
                                                          “piggyback” on another party’s standing). See also Priorities USA v. Nessel, 860 F. App’x 419, 421 (6th
                                                          Cir. 2021).
                                                          133
                                                              See ECF No. 1, PageID.4-5, ¶¶ 14-21.
                                                          134
                                                              U.S. Const. amend. XI. See also Russell, 784 F.3d at 1046.
                                                          135
                                                              Russell, 784 F.3d at 1046 (cleaned up).
                                                          136
                                                              Id. (cleaned up).

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                                                          States’ sovereign immunity under the doctrine announced in Ex parte Young….”137 A suit falls within this

                                                          exception when it seeks “prospective relief to end a continuing violation of federal law.”138

                                                                  To determine whether a suit falls within the Ex parte Young doctrine, the Court conducts a

                                                          “straightforward inquiry into whether [the] complaint alleges an ongoing violation of federal law and seeks

                                                          relief properly characterized as prospective.”139 This inquiry focuses on plaintiffs’ allegations and “does not

                                                          include an analysis of the merits of the claim[s].”140 The only relevant inquiry under Ex parte Young is

                                                          whether the complaint alleges an ongoing violation of federal law and seeks relief properly characterized

                                                          as prospective.141

                                                                  So, for the Ex parte Young exception to apply, “plaintiffs must show that they are: (1) suing state

                                                          officials rather than the state itself, (2) alleging an ongoing violation of federal law, and (3) seeking

                                                          prospective relief.”142 The theory behind the exception is that, “even if the officials claim to be acting under

                                                          valid state law because, if the officials’ conduct constitutes an ongoing violation of federal law, the state

                                                          cannot cloak their actions with state authority or state immunity.”143 “That is, when state officials are

                                                          arguably violating federal law, the state is not the real party in interest because the state cannot ‘authorize’

                                                          the officials to violate federal law.”144 “Thus, in allegedly violating federal law, the officials are stripped of

                                                          their state authority and the Eleventh Amendment will not protect them from suit.”145
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                                                                  That is precisely what the Plaintiffs have pled here. Plaintiffs have sued three state officials in their

                                                          official capacities, citing Ex parte Young,146 and alleging that their designations of VRAs violates the NVRA



                                                          137
                                                               Id. at 1047 (citation omitted).
                                                          138
                                                               Id. (citation omitted).
                                                          139
                                                              Verizon Md., Inc. v. Pub. Serv. Comm’n of Md., 535 U.S. 635, 645; 122 S.Ct. 1753 (2002) (citation
                                                          omitted).
                                                          140
                                                              Id. at 646.
                                                          141
                                                              Id.
                                                          142
                                                              Jud. Watch, Inc. v. Griswold, 554 F. Supp. 3d 1091, 1100 (D. Colo. 2021) (citations omitted).
                                                          143
                                                              Id. (cleaned up).
                                                          144
                                                              Id. (cleaned up).
                                                          145
                                                              Id. (citation omitted).
                                                          146
                                                              ECF No. 1, PageID.4, ¶ 10.

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                                                          and Administrative Procedures Act. And Plaintiffs request prospective relief to end these continuing

                                                          violations: “[a] declaratory judgment that the State Defendants have violated Michigan Const. 1963, art. 2,

                                                          § 4(2), as well as MCL 168.509m and MCL 168.509u,” a “permanent injunction barring the State

                                                          Defendants from designating any VRAs without express authorization from the Michigan Legislature,” and

                                                          an “order declaring the designation of any VRAs under ED 2023-6, the 2022 Interagency Agreement, the

                                                          2023 MOU and MOA, and any future executive directives issued without legislative authorization are

                                                          invalid….”147 The Eleventh Amendment is chiefly concerned with whether “a judgment … will be satisfied

                                                          out of the state treasury,”148 something that is not sought in this case.

                                                                                                            Conclusion

                                                                 “Confidence in the integrity of our electoral processes is essential to the functioning of our

                                                          participatory democracy.”149 The ultra vires actions of the Michigan Governor and Secretary of State – and

                                                          the Federal Defendants’ cooperation with them – undermine that confidence. The State Defendants had no

                                                          authority to designate the VA or SBA as VRAs. So the State and Federal Defendants are in continuing

                                                          violation of the NVRA and APA (and Michigan law). These are pure legal questions. Plaintiffs therefore

                                                          ask this Court for summary judgment regarding the relief requested in their Complaint.
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                                                           Date: August 23, 2024                                By: /s/ Jonathan B. Koch
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                                                              ECF No. 1, PageID.17-18.
                                                          148
                                                              In re San Juan Dupont Plaza Hotel Fire Litig., 888 F.2d 940, 942 (1st Cir. 1989).
                                                          149
                                                              Purcell, 549 U.S. at 4.

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